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IN THE UNITED STATES DISTRICT COURT (0) 5 2) 0 i Se
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA " | -

# Criminal No. ] TY
. : CLb Hee PAS

* (Interference With Commerce By

BILLY WESSON, * Violence, 18 U.S.C. § 1951 (a);
= Brandishing a Firearm During a
* Crime of Violence, 18 U.S.C. §

Defendant.

= 924(c)(1)(A)(ii);_ Possession With

* Intent To Distribute a Controlled

# Substance, 21 U.S.C. § 841(a)(1),

= (b)(1)(C); Possession of a Firearm In
* Furtherance of a Drug Trafficking

* Crime, 18 U.S.C. § 924(c)(1)(A);

* Aiding and Abetting, 18 U.S.C. § 2;
* Forfeiture, 18 U.S.C. §§ 924(d) and
= 981(a)(1)(C), 21 U.S.C. § 853, 28

* U.S.C. § 2461(c))

INDICTMENT

COUNT ONE
(Interference With Commerce by Violence)

The Grand Jury for the District of Maryland charges:

l. At all times material to this Indictment, each of the following entities was
engaged in the retail sale of items in interstate commerce and the business of each entity affected
interstate commerce:

a. The Royal Farms store, located at 3701 Fleet Street, Baltimore, Maryland 21224;

b. The Royal Farms store, located at 206 West Cold Spring Lane, Baltimore,
Maryland 21210; and

c. The Royal Farms store, located at 3635 Keswick Road, Baltimore, Maryland
21211.

2. On or about August 4, 2020, in the District of Maryland, the defendant,
l
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BILLY WESSON,
did knowingly, obstruct, delay and affect commerce as that term is defined in Title 18, United
States Code, Section 1951, and the movement of articles and commodities in commerce, by
robbery, as that term is defined in Title 18, United States Code, Section 1951, in that the
defendant did unlawfully take and obtain money belonging to the Royal Farms store, located at
3701 Fleet Street, Baltimore, Maryland 21224, from the person of and in the presence of an
employee of the Royal Farms store, against the employee’s will by means of actual and
threatened force, violence, and fear of injury, immediate and future, to the employee’s person
and property in the employee’s custody and possession.

18 U.S.C. § 1951 (a)
18 U.S.C. § 2
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COUNT TWO
(Brandishing a Firearm During a Crime of Violence)

The Grand Jury for the District of Maryland further charges that:
On or about August 4, 2020, in the District of Maryland, the defendant,

BILLY WESSON,

did knowingly, intentionally, and unlawfully use, carry, and brandish a firearm, to wit: a Ruger
EC9S firearm bearing serial number 45476784, during and in relation to a crime of violence for
which he may be prosecuted in a court of the United States, to wit: interference with commerce
by violence, in violation of Title 18, United States Code, Section 1951(a), as set forth in Count
One of this Indictment, which is incorporated here.

18 U.S.C. § 924(c)(1)(A)(ii)
18 U.S.C. §2
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COUNT THREE
(Interference With Commerce by Violence)

The Grand Jury for the District of Maryland further charges:
On or about August 6, 2020, in the District of Maryland, the defendant,
BILLY WESSON,

did knowingly, obstruct, delay and affect commerce as that term is defined in Title 18, United
States Code, Section 1951, and the movement of articles and commodities in commerce, by
robbery, as that term is defined in Title 18, United States Code, Section 1951, in that the
defendant did unlawfully take and obtain money belonging to the Royal Farms store, located at
206 West Cold Spring Lane, Baltimore, Maryland 21210, from the person of and in the presence
of an employee of the Royal Farms store, against the employee’s will by means of actual and
threatened force, violence, and fear of injury, immediate and future, to the employee’s person
and property in the employee’s custody and possession.

18 U.S.C. § 1951(a)
18 U.S.C. §2
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COUNT FOUR
(Brandishing a Firearm During a Crime of Violence)

The Grand Jury for the District of Maryland further charges that:
On or about August 6, 2020, in the District of Maryland, the defendant,

BILLY WESSON,

did knowingly, intentionally, and unlawfully use, carry, and brandish a firearm, to wit: a Ruger
EC9S firearm bearing serial number 45476784, during and in relation to a crime of violence for
which he may be prosecuted in a court of the United States, to wit: interference with commerce
by violence, in violation of Title 18, United States Code, Section 1951(a), as set forth in Count
Three of this Indictment, which is incorporated here.

18 U.S.C. § 924(c)(1)(A)(ii)
18 U.S.C. §2
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COUNT FIVE
(Interference With Commerce by Violence)

The Grand Jury for the District of Maryland further charges:
On or about August 7, 2020, in the District of Maryland, the defendant,
BILLY WESSON,

did knowingly, obstruct, delay and affect commerce as that term is defined in Title 18, United
States Code, Section 1951, and the movement of articles and commodities in commerce, by
robbery, as that term is defined in Title 18, United States Code, Section 1951, in that the
defendant did unlawfully take and obtain money belonging to the Royal Farms store, located at
3635 Keswick Road, Baltimore, Maryland 21211, from the person of and in the presence of an
employee of the Royal Farms store, against the employee’s will by means of actual and
threatened force, violence, and fear of injury, immediate and future, to the employee’s person
and property in the employee’s custody and possession.

18 U.S.C. § 1951(a)
18 U.S.C. §2
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COUNT SIX
(Brandishing a Firearm During a Crime of Violence)

The Grand Jury for the District of Maryland further charges that:
On or about August 7, 2020, in the District of Maryland, the defendant,

BILLY WESSON,

did knowingly, intentionally, and unlawfully use, carry, and brandish a firearm, to wit: a Ruger
EC9S firearm bearing serial number 45476784, during and in relation to a crime of violence for
which he may be prosecuted in a court of the United States, to wit: interference with commerce
by violence, in violation of Title 18, United States Code, Section 1951(a), as set forth in Count
Five of this Indictment, which is incorporated here.

18 U.S.C. § 924(c)(1)(A)(ii)
18 U.S.C. §2
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COUNT SEVEN
(Possession with Intent to Distribute Controlled Substances)
The Grand Jury for the District of Maryland further charges:
On or about August 8, 2020, in the District of Maryland and elsewhere, the defendant,

BILLY WESSON,

did knowingly and willfully possess with the intent to distribute a mixture or substance containing
a detectable amount of cocaine, a Schedule II controlled substance.

21 U.S.C. § 841(a)(1)
18 U.S.C. § 2
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COUNT EIGHT
(Possession of a Firearm in Furtherance of a Drug Trafficking Crime)
The Grand Jury for the District of Maryland further charges that:
On or about August 8, 2020, in the District of Maryland and elsewhere, the defendant,

BILLY WESSON,

did knowingly possess a firearm, to wit: a Ruger EC9S firearm bearing serial number 45476784,
in furtherance of a drug trafficking crime, to wit: possession with intent to distribute a controlled
substance, in violation of Section 841 of Title 21, United States Code as charged in Count Seven
of this Indictment, which is incorporated by reference.

18 U.S.C. § 924(c)
18 U.S.C. § 2
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FORFEITURE ALLEGATION

The Grand Jury for the District of Maryland further finds that:

Ls Pursuant to Rule 32.2, Fed. R. Crim. P., notice is hereby given to the defendant
that the United States will seek forfeiture as part of any sentence in accordance with 18 U.S.C.
§§ 924(d) and 981(a)(1)(C), 21 U.S.C. § 853, and 28 U.S.C. § 2461(c), as a result of the
defendant’s conviction on any of the offenses charged in Counts One through Eight of the
Indictment.

Interference with Commerce by Violence Forfeiture

2. Upon conviction of any of the offenses set forth in Counts One, Three, and Five,

the defendant,
BILLY WESSON,
shall forfeit to the United States, pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c),
any property, real or personal, which constitutes or is derived from proceeds traceable to the
offense, including a money judgment in the amount of proceeds the defendant obtained as the
result of the offense.
Narcotics Forfeiture
3. Upon conviction of the offense set forth in Count Seven, the defendant,

BILLY WESSON,
shall forfeit to the United States, pursuant to 21 U.S.C. § 853(a):

a. any property constituting, or derived from, any proceeds obtained, directly or
indirectly, as the result of the offense; and

b. any property used, or intended to be used, in any manner or part, to commit, or to
facilitate the commission of, such offense.

Firearm Forfeiture

4, Upon the conviction of any of the offenses set forth in Counts Two, Four, Six, and

Eight, the defendant,
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BILLY WESSON,
shall forfeit to the United States, pursuant to 18 U.S.C. § 924(d), any firearm or ammunition

involved in or used in the offense, including a Ruger EC9S firearm bearing serial number

45476784 and ammunition.

Substitute Assets
5. If any of the property described above, as a result of any act or omission of the
defendants:

cannot be located upon the exercise of due diligence;

has been transferred or sold to, or deposited with, a third party;

has been placed beyond the jurisdiction of the court;

has been substantially diminished in value; or

has been commingled with other property that cannot be divided without
difficulty;

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the United States shall be entitled to forfeiture of substitute property pursuant to 21 U.S.C,
§ 853(p) as incorporated by 28 U.S.C. § 2461(c).
18 U.S.C. §§ 924(d), 981(a)(1)(C)

21 U.S.C. § 853
28 U.S.C. § 2461(c)

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nathan F. Lenzner
Acting United States Attorney
A TRUE BILL:

SIGNATURE REDACTEG

Foreperson

Date: September 30, 2021
